             Case 2:24-cv-00592-KKE            Document 9        Filed 08/13/24       Page 1 of 2




 1

 2

 3

 4

 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7
      JOHN PICKERING,                                    CASE NO. C24-00592-KKE
 8
                             Plaintiff,                  ORDER DENYING MOTION FOR
 9
              v.                                         RECONSIDERATION
10
      AMAZON.COM INC et al.,
11
                             Defendants.
12
            On June 24, 2024, this Court issued an order denying Plaintiff’s motion for service of his
13
     pro se complaint by the United States Marshals Service. Dkt. No. 7. On August 12, 2024, 49 days
14
     later, Plaintiff filed a motion for reconsideration of that order. Dkt. No. 8.
15
            Under Local Civil Rule 7(h)(2), a motion for reconsideration “shall be filed within fourteen
16
     days after the order to which it relates is filed.” Plaintiff’s motion for reconsideration is untimely.
17
     See Cardworks Processing, LLC v. Pinnacle Processing Grp., Inc., No. C12-557-MJP, 2013 WL
18
     12250011, at *1 (W.D. Wash. Mar. 11, 2013).
19
            Even if the motion were timely filed, it would be denied on the merits. The Court will
20
     ordinarily deny motions for reconsideration “in the absence of a showing of manifest error in the
21
     prior ruling or a showing of new facts or legal authority which could not have been brought to its
22
     attention earlier with reasonable diligence.” Local Rules W.D. Wash. LCR 7(h)(1). Here, Plaintiff
23
     does not argue that the Court’s prior order contained manifest error, nor does he show new facts
24


     ORDER DENYING MOTION FOR RECONSIDERATION - 1
             Case 2:24-cv-00592-KKE           Document 9       Filed 08/13/24      Page 2 of 2




 1   or legal authority that could not have been brought to the Court’s attention earlier with reasonable

 2   diligence.

 3          Accordingly, Plaintiff’s motion for reconsideration (Dkt. No. 8) is DENIED.

 4

 5          Dated this 13th day of August, 2024.

 6


                                                   A
 7

 8                                                 Kymberly K. Evanson
                                                   United States District Judge
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


     ORDER DENYING MOTION FOR RECONSIDERATION - 2
